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 5
 6                            UNITED STATES DISTRICT COURT                                                 l
                                                                                                           :

 7                                     DISTRICT OF NEVADA

 8 UNITED STATES OF AMERICAS                       )
                                                   )
 9                        Plaintiff,               )
                                                   )
10          v.                                     )          2:10-CR-454-JCM (GW F)
                                                   )
11 NABOR GARCIA,                                   )
                                                   )
12                        Defendant.               )
13                         PRELIM INARY O RDER O F FORFEITURE
14         This Coul'tfinds thaton Novem ber 9,2011,defendantNABOR GARCIA pled guilty to

15 Counts0neand Twentp seven ofaThirtpFour-countCrim inalIndictmentcharginghim inCount
16 Onewith Conspiracy toCom mitM ailFraud,inviolation ofTitle 18,United StatesCode,Sections
17   1341and 1349and inCountTwenty-sevenwith M oneyLaundering,inviolation ofTitlc 18,United
18 States Codc,Section 1957. D ocket#1.

19         ThisCourtfindsdefendantNABOR GARCIA agreedtotheforfeitureoftheproperty setforth
20 in Forfeiture Allegationsofthe Crim inalIndictment,the BillofParticulars,the Am ended Billof
21 Particulars,and in the Plea M em orandum .D ocket#1,#64,#79.

22          ThisCourtfinds,pursuantto Fed.R.Crim.P.32.2(b)(1)and (2),theUnited Statesof
23 Americahasshown therequisite nexusbetween property setforth intheForfeitureAllegationsof
24 the Crim inallndictm ent,the Bill of Particulars,and A m ended Billof Particulars,and the Plea

25 M emorandum and theoffensesto which defendantNABOR GARCIA pled guilty.#1,#64,#79.
26   ...
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!
i    l          The rollowing assetsare subjectto forfkiture pursuantto Title 18s United states Codc,
     2 section 981(a)(l)(c)and Title2s, united statescode,section 246l(c);Title l8,united states
                                                                                            j
     3 Code,Section981(a)(1)(A)andTitle28,UnitedStatesCode,Section2461(c);arldTitle18,Unted
                           i
     4 States Code, Secton 982(a)(1), an in personam criminal forfeiture money judgment of
     5 $4,401,548.54inUnitedStatesCurrency,including:
     6 a.       $43,473.41in United StatesCurrency,seized from Escrow AccountNumberF-
                                                                                    1-100024888
                from the saleof6411Strongbow Drive,LasVegas,Nevada 89156;
     7
         b.     3752M ajestyPalm,LasVegas,ClarkCounty,Nevada:moreparticularlydescribedas:
     8          A11thatrealpropert,y situated in the County of Clark,State of Nevada,bounded and
                described asfollows:
     9          Lot84 in Block 2 ofW alnutGroveUnit4 asshown by m ap thereofon filein Book 99 of
                Plats,Page76 in theOfficeofthe CountyRecorderofClark Countys N evada
    10          withal1appurtenancesandimprovementsthereon (APN:140-07-219-030);
    11 c.       2289 Black Bush Lane,LasVegas,ClarkCounty,Nevada,m oreparticularlydescribedas:
                Alltbat realproperty situated in the County of Clark, State of Nevada,bounded and
    12          described asfollows:
                LotFihy-two(52)InBlockOne(1)ofHollywoodVista-Phase1,asshownbymapthereof
    13          on tile in Book 55ofPlats,Page39,intheOfficeofthe County RecorderofClark Cotmty
                Nevadawitha1lappurtenancesandimprovemeatsthereon(APN:140-22-510-053);                ,
    14
    15 d.       3890IdlewoodAvenue,LasVegassçlarkCounty,Nevada,moreparticularlydescribedas:
                ALL THAT CERTAIN PROPERTY SITUATED IN THE COUNTY 0F CLARK , AND
                STATE OF NV AND BEING DESCRIBED IN A DEED DATED 04/20/2009 AND
    16          RECORDED 11/17/2009m INSTRUM ENTNUM BER:20091l170003588AM ONG THE
                LAND RECORDS OF THE COLJN TY AND STATE SET FORTH ABOVE, AN D
    17          REFEREN CED A S FO LLO W S:
                LOT FIFTY-TW O (52)IN BLOCK THREE (3)OF W ALNUT GROVE LINIT 4,AS
    18          SHOW N BY M AP THEREOF ON FILE m BOOK 99 ON PLATS, PAGE 76,m THE
                OFFICE OF THE COUNTY RECORDER, CLARK COUNTY,NEVADA.
    19          withallappurtenancesandimprovementsthereon(APN:140-07-116-008))
    20 e.       6644 Grand OaksDrive,LasVegas,Clark CountysNevada. m ore particularly described
                aS:
'   21          Allthat real property situated in the County of Clarkp State of N evada, bounded and
                described asfollows:

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                                                                      PAOE -PHmASE6
                                                                                TuE,
i   23          OFFICE OF THE COUNTY RECORDER OF CLARK COUNTY , NEVADA .
                withallappurtenmlcesandimprovementsthereon(APN:140-22-615-028);and
    24
:        f.     5455 M eikle L aneyLas V egas, Clark County?Nevada,moçeparticularly describtd as:
    25          ThatportionoftheSouthwestQuarter(SW 1/4)ofSection21,Township20SouthsRange
                62Eapt M ,D.B.&M .
                                 gdescribedmsfollows:
    26          COM M ENCING attheNorthwestcorneroftheSouihwestQuarter(SW 1/4)ofsaidSection

                                                     2
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     1          21;
                THENCE North 89045'
                                  48''EastalongtheNorth line thereofadistanceof2,426.88 feetto
     2          apoint;
                THENCE South()000'48''EastandparalleltotheW estlineoftheSouthwestQuarter(SW
     3          1/4) of said Section 21,a distance of 358.26 feet to the TRUE POINT OF THE
                BEG IN N IN G ;
     4          THENCE South 89034'00''Eastadistanceof100'to apoint;
                THENCE South 0057'35''EastandparalleltotheEastlineoftheSouthwestQuarter(SW
     5          1/4)ofthesaid Section21?adistanceof229.00feettoapoint;
                THENCE North 89034'00''W estadistanceof 100.00feetto apoint;
     6          THEN CE 00535,'W esta distance of229.00 feetto the TRUE POINT OF BEGINNING.
                withal1appurtenancesandimprovementsthereon (APN:140-21-307-003)('çpropertf).
     7

     8          ThisCourtfindsthe United StatesofAm erica is now entitled to, and should,reduce the
     9 aforem entioned property to the possession ofthe United StatesofA m erica.
    10          NOW THEREFORE,IT IS HEREBY ORDERED , ADJUDGED,AND DEclv ED thatthe
    11 United StatesofAm ericashould seizetheaforementionedproperty.

    12          ITISFURTHER ORDERED,ADJUDGED , AND DECREED al1righttitle,andinterestof
    13 NABOR GARCIA in theatbrementioned propertyisforfeitedandisvested in theUnited Statesof
    14 Am ericaand shallbe safely held by the United StatesofAm ericauntilfullherorderofthe Court.
!
l
    15         IT IS FURTHER ORDEREDSADJUDGED, AN D DECREED theU nited StatesofAm erica

!   16 shallpublîsb foratleastthirty(30)consecutivedaysontheofficialinternetgovernmentforfeiture
i
    17 website,w ww forfeiture,gov,noticeofthisOrder,which shalldescribetheforfeitedproperty, state
                      .



    l8 thetim ekmdertheapplicablestatutewhen apetitioncontestingtheforfeituremustbetiled, and statt
    19 the name and contactinform ation for the governm entattorney to be served with the petition,
    20 pursuanttoFed.R,Crim.P.32.2(b)(6)andTitle21,UnitedStatesCode,Section853(n)(2)         .


    21         IT IS FU RTH ER OR DERED , AD JUD G ED ,AN D D ECREED a petition,ifany, m ustbe
    22 filed with theClerk oftheCourt,333 LasVegasBoulevard South, LasVegas,Nevada 89101.

    23         IT IS FURTHER ORDERED,ADJUDGED , AND DECREED acopyofthepetition,ifany,
    24 shallbe served upon the AssetForfeiture Attorney ofthe United StatesAttorney's Ofsce atthe
    25 following addressatthetim eoftiling:
    26 ..,


                                                      3
l
i           Case 2:10-cr-00454-JCM-GWF           Document 111      Filed 11/10/11    Page 4 of 4

l


2    1                 M ichaelA.Hum phreys
1                      AssistantUnitedstatesAttorney
1    2                 DanielD.Hollingsworth
I                      AssistantUnited statesAttorney
i
i    3                 Nevada stateBarNo. 1925
.                      Lloyd D.George United StatesCourthouse
     4                 333 LasV egasBoulevard South,Suite 5000
                       LasV egas,N evada 89101                                                          .

     5
                IT IS FURTHER ORDERED,ADJUDGED,AND DECREED thenoticedescribed herein
     6
         need notbepublished in theeventa Declaration ofForfeitureisissued by theappropriateagcncy
     7
         followingpublicationofnoticeofseizureand intentto administratively forfeittheabove-described
     8
         property.
     9
                DA TED this         day of           ..        ,2O11.
    10                                       '

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    12                                                                              Q.
    13                                             LIN IT    TA TES D ISTRICT JU D GE

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